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                        IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                            Civil Action No.
         v.                                                 8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                          ORDER

        To the extent Defendants wish to respond to the scope and timing of Class Counsel’s

proposed discovery, ECF 289, they should provide a response no later than noon ET on

Wednesday, June 4, 2025.

        So Ordered.


Dated: June 3, 2025                                           /s/
                                                     Stephanie A. Gallagher
                                                     United States District Judge




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